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First Last Company
John Aaron LA Citizens
Naueedunnisa (navid) {Ahmed Lexington
Paul Alexander Allstate
Rosetta Allen Lafayette/United Fire
James Amerson Lafayette/United Fire
Mattie Andrews State Farm
Mark Andry Lexington
Louise Armstrong Lafayette/United Fire
Patrice August-Louper [Fidelity
Syed Baber state Farm
Albert Barard LA Citizens
Albert Barns Allstate
Cathleen Baudy Lafayette/United Fire
Ira Bennet LA Citizens
Clarence Berzat _ |State Farm
Edna Bethancourt-HarrigLA Citizens
Henry Biount Lafayette/United Fire
Rose BoGuille Alistate
Terrance Boyd LA Citizens
Wilhelmina Briggs Lafayette/United Fire
Betty Brock Liberty Mutual
Orbadella Browder Allstate
Claudia Brown Allstate
Shranda Brown LA Citizens
Leola Brown LA Citizens
Louis Brown Latayette/United Fire
Mildred Brown Lafayette/United Fire
Valerie Brown St Paul/Travelers
Robert Bruno Maryland Casualty
Bruce Burley LA Citizens
Linda Butler LA Citizens
Ruth Butler St Paul/Travelers
Rosa Bynum Allstate
Rita Caldwell Allstate
Phyllis Campo State Farm
Milton Carr Allstate
Shirley Castigliola Encompass
Chantrell Causey Lexington
Brenda Chambers LA Citizens
Valerie Chriss LA Citizens
Helen Chrstoff Lafayette/United Fire
Sheila Cobbs American Family
Catrice Collins-Washingtol[ American Family
Victor Colombo Lafayeite/United Fire
Laurie Conigiio Si Paul/Travelers
Deborah Coulon St Paul/Travelers
Rita Coupel Allstate
Perry Courseault Allstate
Charles Curtis Lafayetie/United Fire
Alice Dabney Allstate
Della Daniels St Paul/Travelers

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Johnnie Davenport LA Citizens

Hazel Davis Allstate

Earline Davis Allstate

Kim Davis Lafayette/United Fire
John Davis Lafayette/United Fire
Sylena Davis Lexington

Dollie Davis Liberty Mutual
Johnny DeClouet LA Citizens

Linda DeCuir Allstate

Farl Dejan LA Citizens

Florence Delaney Republic

Viola Demouchet Allstate

John Dexter Allstate

Willard Dickinson Hartford

Keyosa Dilosa LA Citizens

Sylvia Dobard Encompass

Warren Dolese Encompass

Vernon Dotson LA Citizens

Stanley Doucette LA Citizens

Earline Dukes Lafayette/United Fire
Egan Edward LA Citizens

shirley Edwards Lafayette/United Fire
Alfred Edwards State Farm

Gene Eugene LA Citizens

Robin Fabre LA Citizens

DUANE FALLS St Paul/Traveiers
PHYLLIS FELTON State Farm

Glenda Flagge Lexington

Alexzine Fortier Lafayette/United Fire
Gaynell Fouchea-Golden |LA Citizens

Donna Fournier Allstate

Antoinette Franklin Lafayette/United Fire
Asif Gatur Allstate

Larris Gaimon Allstate

Viola Galmon Lexington

Pamela George Lexington

Margie Gillard Lafayette/United Fire
Mildred Glover Allstate

Detrina Green American Family
Debra Griffin Liberty Mutual
Thelma Griffith LA Citizens

John Hale LA Citizens

Erin Hamilton Lexington

Mia Harris LA Citizens

Dorothy Hart-Manuel Allstate

Linda Hatcher LA Citizens

Ralph Haynes LA Citizens

Janice Haywood Lexington

Joseph Hebert LA Citizens

Daniel High Lioyds of London
Nataisha Holland LA Citizens

John Holmes Liberty Mutual

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Levi Howard Allstate

Claudette Huntington Lafayette/United Fire
Joyce Ison LA Citizens

Oliver Jackson Lafayette/United Fire
Danielle James Allstate

Mark James Lexington

Robert Jenevein St Paul/Travelers
Gaynell Jenkins Essex/Markel
Gwendolyn Johnson LA Citizens

Ida Mae Johnson Lafayette/United Fire
Carl Johnson St Paul/Travelers
Bertha Johnson St Paul/Travelers
Marlene Jones LA Citizens
Bernadeite Jones Lafayette/United Fire
Albert Jones Lafayette/United Fire
Jean Jones Lafayette/United Fire
Edna Jones St Paul/Travelers
Calvin Jones Staite Farm
Bronnicia Jones-Beach LA Citizens

Deonne Jones-Blunt Encompass
Armythean Joseph LA Citizens
Thurman Kaiser Lafayette/United Fire
Suzzette Kelley LA Citizens

Alex Kelson Allstate

Melvina Kepp State Farm

Frances King LA Citizens

Ralph Klafert LA Citizens
Veraniece Knoten Lafayette/United Fire
Beverly KuyKendall LA Citizens

Joycelyn Labostrie Lafayette/United Fire
Larry LaFrance Fidelity

Rose Landry LA Citizens

Peter Landry Lloyds of London
Ronald Laporte St Paul/Travelers
Ronald Laporte St Paul/Travelers
Diane Lawless Allstate

AJILEA Lawrence LA Citizens

Gail Lawyer Allstate

Melba Leggett-Barnes |LA Citizens

Odell Leverette {LA Citizens

Adolph Lewis Horace Mann
Shalone Lloyd-igius LA Citizens

Lloyd Lockett St Paul/Travelers
Jonathan Louis State Farm

Gloria Malter Allstate

Gwendolyn Marchand Allstate

Willis Marguerite Fidelity

Jules Martin LA Citizens

George Martin Sr. Lafayette/United Fire
Mariano Martinez Lafayette/United Fire
Markethy McClellan Lexington

Cindy McGinnis LA Citizens

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Nathaniel McGowan Allstate
Deborah McIntosh LA Citizens
Alton Mickey Lexington
Claudette MicKnight Lafayette/United Fire
Obra Melancon St Paul/Travelers
Darrell Mellion LA Citizens
Sharon Merrick LA Citizens

-|O'Neal Merrick Lafayette/United Fire
Lois Mike LA Citizens
Matte Miller Allstate
Brenda Mills Lafayette/United Fire
Viola Mimms Lafayette/United Fire
Walter Mitchell LA Citizens
Kenneth Mitchell LA Citizens
Alferd Moliere LA Citizens
Zaida Monconduit Lexington
Phillip Montgomery Lloyds of London
Melissa Moore Allstate
Donald Moore LA Citizens
Shandell Moore Lexington
ISABEL MORALES LA Citizens
Advanced Mortgage Lloyds of London
Advanced Mortgage Lloyds of London
Advanced Mortgage Lioyds of London
Advanced Mortgage Lloyds of London
Kevin Moses LA Citizens
Marie Moss LA Citizens
Cung Nguyen LA Citizens
Sandra Norman LA Citizens
Robert Nunez St Paul/Travelers
David O'Neal ZC Sterling
Errol Owens LA Citizens
Yadira Pagan Lexington
Frances Palmer LA Citizens
Ruby Patterson Allstate
Jean Phillip LA Citizens
George Poche LA Citizens
Margaret Polk LA Citizens
Marie Poole LA Citizens
Deloris Powell LA Citizens
Ruby Proctor Lafayette/United Fire
Corey Provost LA Citizens
Gladys Ramsey St Paul/Travelers
Edward Randolph Lexingion
Gladys Rayfield Lafayette/United Fire
Henrietta Reed Lioyds of London
Evelyn Reese Lafayette/United Fire
Robert Richardson Allstate
Gwangi Richardson-Alston|LA Citizens
Willie Robertson State Farm
Ralph Robin St Paul/Travelers
Patricia Robinson Hanover

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LaDonya Robinson LA Citizens
AUDREY ROLLAND LA Citizens

Andra Rounds Lexington

Alfred Royal St Paul/Travelers
Ciaudie Rufus Kemper

Dionnlyn Sampson LA Citizens

Warren Schmitt St Paul/Travelers
Calvin Schnyder Allstate

Hubert Sentino LA Citizens

Janice Shaw Lafayette/United Fire
W Simmons Lafayette/United Fire
Mae Singleton LA Citizens

Mary Slater Union National
Norman Smith Homesite

Ollie Smith LA Citizens
Tremayne Smith LA Citizens

DEBRA SMITH Lafayette/United Fire
Alexander Smith Lafayette/United Fire
Judy Smith Lexington

Willie Spears Lafayette/United Fire
Willie Spears Scottsdale

Johnnie Spellman St Paul/Travelers
Rita Sperber Allstate

Joe-Anna St. Cyr American Family
Elaine Steward Lafayette/United Fire
Gail Stewart St Paul/Travelers
Kim Stovall Lafayette/United Fire
Glenn summers LA Citizens
Demetrias Temple Lexington

Arle Thomas Allstate

Sandra Thompsen LA Citizens

Deidre Thompson Lafayette/United Fire
Tyrone Thompson Lafayette/United Fire
Gail Thornton-Collins {LA Citizens

Gregory Toefield Homesite

Delene Torrey LA Citizens

Joseph Tramontana Lexington

Irma Tross Lafayette/United Fire
Lawrence Unde Encompass

Percy Vaughn LA Citizens

Earl Veal Lafayette/United Fire
Mary Verrett LA Citizens

Eileen Victor St Paul/Travelers
Kathy Vignaud Lafayette/United Fire
Victory Walace-Taylor LA Citizens

Tarita Walker State Farm
Darensbourg Walter LA Citizens

Carlita Washington LA Citizens
Leanidous Washington Lafayette/United Fire
Karen Washington Lexington

Chanel Watson LA Citizens

Saul Welmer LA Citizens

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Cosette West State Farm
Sebastion Weston LA Citizens

Carl Wharton Allstate

Nathedra White LA Citizens

Myrtle White Lafayette/United Fire
Edward White St Paul/Travelers
Oceneita William LA Citizens

Anita Williams Allstate

Angela Williams LA Citizens

Ruby Williams LA Citizens

Sterling Wiliams LA Citizens

Mildred Williams Lafayetie/United Fire
Robert Williams St Paul/Travelers
Monique Wiliams-Bennette|LA Citizens

Melba Wiltams-Hopper |LA Citizens
Bernadette Woods LA Citizens

Rose Woods Lafayette/United Fire
Ruth Yonta-Mitchell Lafayette/United Fire
Theodore Young LA Citizens

Wendell Youngblood Lexington

Austra Zapata Lexington

